 

' Case 3:13-cV-02313-DEW-.]DK Document 27 Filed 10/27/14 Page 1 of 1 Page|D #: 111

UNITED STATES DlSTRlCT COURT

U. S_ D|STRICT COURT
\NESTER|'~I DL‘§T=EICT OF LOU|S|AH`R»
RECE|VEU -SHREVEPORT

WESTERN DlSTRlCT OF LOUIS|ANA

maj ?? 2914
TONVQ ?_ - - K NIONROE DIVISION
BY“"""""_'“'” DEFu
RAVEN ROWLAND C|V|L ACT|ON NO. 13-23‘|3
versus JUDGE WALTER
AMER|CAN MEDICAL RESPONSE, MAGISTRATE JUDGE KlRK
lNC.

ORDER OF D|SM|SSAL

The Court having been advised by counsel that the above civil action has been
settled,

|T lS ORDERED that this action is hereby D|.'E`»l'\il|SSEDl without prejudice to the
right, upon good cause shown within ninety (90) days of the signing of this Order1 to
reopen the action if settlement is not consummated The C|erk is now requested to
close this case.

lT |S FURTHER ORDERED that within ninety (90) days of the signing of this
Order, the parties shall submit to the Court: (1) a joint motion to dismiss accompanied
by a proposed order; or (2) a Ru|e 41(a)(1)(A)(ii) stipulation of dismissal signed by ali
parties who have appeared in this action. Any motion that may be pending in this case
is hereby DEN|ED AS MOOT.

Tl-lUS DONE and SlGNED at Shreveportl Louisiana, this 27th day of October,

Lw,,/EM//»/g

DONALD E. WALTER
Ui(ilTED STAT.ES DIS'I`RICT IUDGE

